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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


BELCALIS MARLENIS ALMÁNZAR,

                         Plaintiff,
       v.                                      Case No. 1:19-cv-01301-WMR

LATASHA TRANSRINA KEBE a/k/a
LATASHA TRANSRINA HOWARD and
KEBE STUDIOS LLC,

                        Defendants.


               ORDER GRANTING PLAINTIFF’S
      MOTION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL

      Having considered the Motion for Leave to File Documents Under Seal (the

“Motion”) filed by Plaintiff Belcalis Marlenis Almánzar (“Almánzar”), and for

good cause shown, THE COURT ORDERS AS FOLLOWS:

      1.    The Motion is GRANTED.

      2.    The following documents may be filed under seal:

            (a)   The transcripts and excerpts of the transcripts from the

depositions of Defendant Latasha Kebe and her husband and business manager

Cheickna Kebe.
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            (b)   The Declaration of Lisa Moore and exhibits filed in support of

Plaintiff’s motion for summary judgment.



Dated: January 19, 2021




                                     Honorable William M. Ray II
                                     UNITED STATES DISTRICT JUDGE
